 Case5:17-cv-10164-JEL-MKM
Case  5:19-cv-13359-JEL-EAS ECF
                            ECF No.
                                No. 283
                                    14-2,filed
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 WALTERS, et al.                                                    Case No. 5:17-CV-10164

         Plaintiffs,                                                Honorable Judith E. Levy

 v.

 THE CITY OF FLINT, et al.

       Defendants.
 _____________________________________________________________________________/

 This filing relates to:

 AASIYAH MEEKS, et al.,                                             Case No. 5:19-CV-13359

         Plaintiffs,                                                Honorable Judith E. Levy

 v.

 UNITED STATES OF AMERICA,

       Defendant.
 _____________________________________________________________________________/


 This filing relates to:

 In re FTCA Flint Water Cases                                       Case No. 4:17-CV-11218
                                                                    (Consolidated)

                                                       Honorable Linda V. Parker
 _____________________________________________________________________________/

                                MOTION TO CONSOLIDATE

         Plaintiffs in Walters v. The City of Flint, 5:17-cv-10164, move, pursuant to Federal Rule

 of Civil Procedure 42(a) and Local Rule 42.1, to consolidate Meeks v. The United States of

 America, 5:19-cv-13359, as well as the In re FTCA Flint Water Cases, 4:17-cv-11218, with

 Walters.

                                                 1
 Case5:17-cv-10164-JEL-MKM
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         Pursuant to Local Rule 7.1(a), counsel for the Walters Plaintiffs conferred with counsel

 for the United States, as well as with Plaintiffs’ counsel for each of the consolidated FTCA cases

 regarding this motion. Counsel for the United States indicated their opposition to the motion.1

 Counsel for the Burgess Plaintiffs indicated they do not concur2 and in fact object3 to the relief

 requested. Counsel for the Anderson Plaintiffs indicated their opposition the motion.4 Counsel

 for the Thomas, Adams, Abraham and Berry Plaintiffs did not take a position regarding the relief

 requested.5



 Dated: February7, 2020

                                                                      LEVY KONIGSBERG, LLP


                                                                      /s/ COREY M. STERN
                                                                      Corey M. Stern (P80794)
                                                                      800 Third Avenue, 11th Floor
                                                                      New York, New York 10022
                                                                      (212) 605-6298
                                                                      (212) 605-6290 (facsimile)




 1
   Attorney Eric A. Ray respectfully communicated this to me on behalf of the United States.
 2
   Attorney Michael Pitt respectfully communicated this to me on behalf of the Burgess Plaintiffs.
 3
   Attorney Theodore Leopold communicated this to me, also on behalf of the Burgess Plaintiffs.
 4
   Attorney Valdemar Washington respectfully communicated this to me on behalf of the Anderson Plaintiffs.
 5
   Attorneys from Napoli Shkolnik, PLLC represent the Thomas, Adams, Abraham and Berry Plaintiffs.
 Case5:17-cv-10164-JEL-MKM
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on February 7, 2020, the foregoing document was filed via the U.S.

 District Court’s CM/ECF electronic system and a copy thereof was served upon all counsel of

 record.



                                                              LEVY KONIGSBERG, LLP


                                                              /s/ COREY M. STERN
                                                              Corey M. Stern (P80794)
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                                                              (212) 605-6298
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                                                  3
